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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

 Case No.        CV 21-6146 MWF (MRWx)                                    Date: October 14, 2021
 Title       Eric Cleveland v. 3210 Gage, LLC, et al.


 Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge
                    Rita Sanchez                                        Not Reported
                    Deputy Clerk                                  Court Reporter / Recorder

         Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                  Not Present                                        Not Present

 Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE

       A review of the docket in this action reflects that the Complaint was filed on
 July 30, 2021. (Docket No. 1). Pursuant to Federal Rules of Civil Procedure, Rule
 4(m), the time to serve the Complaint will expire on October 28, 2021.

       The Court ORDERS Plaintiff to show cause why this action should not be
 dismissed for lack of prosecution. In response to this Order to Show Cause, the
 Court will accept the following no later than OCTOBER 28, 2021.

          BY PLAINTIFF: PROOF OF SERVICE of Summons, Complaint, and
           ADA Disability Access Litigation/Application for Stay and Early
           Mediation Packet on Defendant.

        Any request by Plaintiff for an extension of time beyond the time limit set
 forth in Fed. R. Civ. P. Rule 4(m) will only be granted upon a showing of good
 cause, including, but not limited to, the date service was tendered to a process
 server and the date service was first attempted by the process server. Failure
 to timely file a Proof of Service, or request an extension of time to do so, will
 result in the dismissal of this action on October 29, 2021.

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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

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          BY DEFENDANT: RESPONSE TO THE COMPLAINT (“Response”)
           or APPLICATION FOR STAY AND EARLY MEDIATION (“ADA
           Application”) by Defendant who has been served.

       If the Proof of Service requires Defendant’s future Response or ADA
 Application, and if Defendant does not timely file such a Response or ADA
 Application, Plaintiff must file an Application to Clerk to Enter Default (“Default
 Application”) within five calendar days after that Response or ADA Application
 due date. Failure to do so will be deemed abandonment of this action and the
 Court will immediately dismiss it for lack of prosecution.

          BY PLAINTIFF: AN APPLICATION FOR CLERK TO ENTER
           DEFAULT for Defendant who has not timely responded to the
           Complaint or filed an ADA Application.

         If the Proof of Service reflects that Defendant’s time to respond to the
 Complaint or file an ADA Application has already expired, Plaintiff must
 concurrently file a Default Application with the Proof of Service. Failure to do so
 will be deemed abandonment of this action and the Court will immediately dismiss
 it for lack of prosecution.

       No oral argument on this matter will be heard unless otherwise ordered by
 the Court. See Fed. R. Civ. P. 78; Local Rule 7-15. The Order will stand
 submitted upon the filing of the response to the Order to Show Cause. Failure to
 respond to the Order to Show Cause will result in the dismissal of this action.

         IT IS SO ORDERED.

                                                               Initials of Preparer: RS/sjm




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